Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 1 of 10




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION


   UNITED STATES OF AMERICA,                      )
                                                  )   Case No. 9:25-cv-80407
             Plaintiff,                           )
                                                  )
             v.                                   )
                                                  )
   PAUL E. SENAT,                                 )
                                                  )
           Defendant.                             )
   ______________________________

                                      COMPLAINT

     Plaintiff, the United States of America, complains and alleges as follows:

           1.      The United States brings this action to recover Defendant

     Paul Senat’s unpaid federal income tax liabilities for 2011 and 2012 and a civil

     penalty assessed against him under 26 U.S.C. § 6695(g) for 2013.

           2.      Pursuant to 26 U.S.C. §§ 7401 and 7402, the Chief Counsel of the

     Internal Revenue Service, a delegate of the Secretary of the Treasury, authorized

     and requested this action. This action is brought at the direction of the United States

     Attorney General under the authority of 26 U.S.C. § 7401.

                              JURISDICTION AND VENUE

           3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C.

     §§ 1340 and 1345, as well as 26 U.S.C. § 7402(a).


                                              1
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 2 of 10




            4.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and

     1396 because the federal tax liabilities at issue accrued and continue to accrue in

     this district.

                                        DEFENDANT

            5.        Senat owned and operated a tax return preparation business in Palm

     Beach County from at least 2012 through 2016.

            6.        On March 5, 2019, a federal grand jury sitting in the Southern

     District of Florida returned an indictment charging Senat with one count of

     fraudulent endorsement of a Treasury check (18 U.S.C. § 510(a)(2)), one count of

     theft of government funds (18 U.S.C. § 641), one count of aggravated identity

     theft (18 U.S.C. § 1028A(a)(1)), and twelve counts of aiding and assisting in the

     preparation of false tax returns (26 U.S.C. § 7206(2) and 18 U.S.C. § 2). See United

     States v. Senat, 9:19-cr-80024-RLR (S.D. Fla.), ECF No. 1.

            7.        On November 6, 2019, a jury found Senat guilty of one count of

     theft of government funds over $1,000 (18 U.S.C. § 641) and nine counts of aiding

     and assisting in the preparation of false tax returns (26 U.S.C. § 7206(2)). See id. at

     ECF Nos. 103, 133.




                                               2
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 3 of 10




            8.     On February 21, 2020, Senat was adjudged guilty of the above

     counts and sentenced to 90 months in federal prison, three years of supervised

     release, criminal monetary restitution totaling $9,779.84, and $44,011.79 in

     restitution to the IRS. See id. at ECF No. 133.

            9.     Senat was ordered to “cooperate fully with the [IRS] in determining

     and paying any tax liabilities” and “pay all taxes, interest, and penalties due and

     owing by him…to the [IRS].” Id. at p.4.

            10.    Senat was barred from preparing tax returns except with permission

     from the court. See id.

            11.    Senat’s conviction was affirmed on appeal. See United States v. Senat,

     20-10777 (11th Cir.), ECF No. 39.

            Count I – Judgment for Unpaid Income Tax Liabilities for 2011

            12.    The United States reasserts the allegations in paragraphs 1 through

     11.

            13.    Senat was required to file a federal income tax return for 2011 but

     failed to do so.

            14.    Through an examination, the IRS determined Senat’s federal

     income tax liability for 2011 based on income, filing status, deductions, credits,

     and Information Return Documents filed by taxpayers as reported under his

     Social Security number.


                                             3
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 4 of 10
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 5 of 10




     against Senat for his unpaid federal income tax liabilities for the tax period ending

     on December 31, 2011, with the County Courthouse in Palm Beach County,

     Florida.

            19.    As of March 28, 2025, Senat owes the United States the sum of

     $58,374.66, plus fees and statutory additions thereon as provided by law, for

     unpaid federal income tax liabilities for tax year 2011.

             Count II – Judgment for Unpaid Income Tax Liabilities for 2012

            20.    The United States reasserts the allegations in paragraphs 1 through

     11.

            21.    Senat was required to timely file a federal income tax return for 2012

     but submitted it late.

            22.    Through an examination, the IRS adjusted Senat’s federal income

     tax liability for 2012 based on income, filing status, deductions, credits, and

     Information Return Documents filed by taxpayers as reported under his Social

     Security number.

            23.    On the following dates and in the following amounts, a delegate of

     the Secretary of the Treasury assessed the following federal income tax liabilities

     against Senat:




                                             5
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 6 of 10
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 7 of 10




     on December 31, 2012, with the County Courthouse in Palm Beach County,

     Florida.

           27.    As of March 28, 2025, Senat owes the United States the sum of

     $61,442.96, plus fees and statutory additions thereon as provided by law, for

     unpaid federal income tax liabilities for tax year 2012.

                      Count III – Judgment for Civil Penalty for 2013

           28.    The United States reasserts the allegations in paragraphs 1 through

     11.

           29.    Under 26 U.S.C. § 6695(g), the IRS may assess a return preparer

     $500 for each failure to comply with due diligence requirements to confirm a

     taxpayer’s eligibility to file as head of household or claim a credit under

     26 U.S.C. §§ 24 (child tax credit), 25(a)(1) (mortgage interest tax credit), or 32

     (earned income tax credit).

           30.    Senat failed at least ten times to comply with his due diligence

     requirements as a return preparer to confirm his customers’ eligibility for the

     statuses or credits described in paragraph 29.

           31.    On April 4, 2016, a delegate of the Secretary of the Treasury

     assessed a penalty of $5,000 against Senat under 26 U.S.C. § 6695(g) for the tax

     period ending on December 31, 2013.




                                             7
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 8 of 10




            32.    A delegate of the Secretary of the Treasury, in accordance with the

     internal revenue laws, gave written notice to Senat of the assessment described in

     paragraph 31 and demanded payment.

            33.    Despite the notice of assessment and demand for payment, Senat

     has refused or neglected to pay the assessed liability, or the interest that has

     accrued, as described in paragraph 31.

            34.    On March 3, 2025, a delegate of the Secretary of the Treasury

     recorded a Notice of Federal Tax Lien against Senat for his unpaid civil penalty

     for the tax period ending on December 31, 2013, with the County Courthouse in

     Palm Beach County, Florida.

            35.    As of March 28, 2025, Senat owes the United States the sum of

     $7,891.31, plus fees and statutory additions thereon as provided by law, for an

     unpaid civil penalty for tax year 2013.

        WHEREFORE, the United States of America respectfully requests that this

  Court grant the following relief:

            A. That, with respect to Count I, the Court enter judgment for the United

               States and against Paul E. Senat in the amount of $58,374.66 as of

               March 28, 2025, plus further interest and statutory additions thereon as

               allowed by law, for unpaid federal income tax liabilities for tax year

               2011;


                                               8
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 9 of 10




           B. That, with respect to Count II, the Court enter judgment for the United

              States and against Paul E. Senat in the amount of $61,442.96 as of

              March 28, 2025, plus further interest and statutory additions thereon as

              allowed by law, for unpaid federal income tax liabilities for tax year

              2012;

           C. That, with respect to Count III, the Court enter judgment for the United

              States and against Paul E. Senat in the amount of $7,891.31 as of

              March 28, 2025, plus further interest and statutory additions thereon as

              allowed by law, for an unpaid civil penalty for tax year 2013; and

           D. That the Court grant the United States such other and further relief,

              including costs, as it deems just and proper.

  Dated:      March 28, 2025

                                               Respectfully Submitted,

                                               Andrew J. Weisberg
                                               Andrew J. Weisberg (#A5502718)
                                               Trial Attorney, Tax Division
                                               U.S. Department of Justice
                                               P.O. Box 14198
                                               Washington, D.C. 20044
                                               202-616-3884 (v)
                                               202-514-4963 (f)
                                               Andrew.J.Weisberg@usdoj.gov

                                               Of Counsel:
                                               HAYDEN O’BYRNE
                                               United States Attorney
                                               Southern District of Florida

                                           9
Case 9:25-cv-80407-DMM Document 1 Entered on FLSD Docket 03/28/2025 Page 10 of 10




                          CERTIFICATE OF COMPLIANCE

         I certify that, in accordance with Local Rule 5.1, this document is in Calisto

   MT font, size 13.

   Date: March 28, 2025
                                          /s/ Andrew J. Weisberg
                                          ANDREW J. WEISBERG
                                          Trial Attorney
                                          U.S. Dept. of Justice, Tax Division




                                            10
